             Case MDL No. 2942 Document 1-15 Filed 04/20/20 Page 1 of 2



                   BEFORE THE UNITED STATES JUDICIAL PANEL ON
                           MULTIDISTRICT LITIGATION


    In re: COVID-19 Business Interruption
    Insurance Coverage Litigation                           MDL No. _______________



                       STATEMENT REGARDING ORAL ARGUMENT

         Counsel for Plaintiffs-Movants1 respectfully request oral argument before this Judicial

Panel on Multidistrict Litigation (“Panel”) with regard to the above-referenced matter. Oral

argument will assist the Panel in understanding the issues and challenges raised in this complex

litigation with national significance.

          Movants are Plaintiffs in 2 of the 11 cases currently filed in 9 federal district courts across

the country all of which seek to answer the vital question of whether plaintiffs’ business

interruption insurance coverage was triggered by the numerous federal, state, county, and local

orders that closed non-essential businesses and ordered people to “stay at-home” as a result of the

COVID-19 pandemic. Movants assert that the core issue in these cases is an issue of national

importance having significance not only for businesses across the country but also for the overall

health of the economy. As such, the federal judiciary should respond with a consistent and

cohesive approach rather than risking inconsistent decisions and duplication of efforts in different

federal courts. Because the volume of cases is sure to increase significantly in the coming days

and weeks, oral argument also would allow the Movants to update the Panel on the number of filed

cases.


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  Movants are LH Dining L.L.C., doing business as River Twice Restaurant, and Newchops Restaurant
Comcast LLC, doing business as Chops. See LH Dining L.L.C., doing business as River Twice Restaurant
v. Admiral Indemnity Company, Civil Action No. 2:20-cv-01869 (E.D.Pa.) (TJS), filed April 10, 2020;
Newchops Restaurant Comcast LLC, doing business as Chops v. Admiral Insurance Company, Civil Action
No. 2:20-cv-01949 (E.D.Pa.), filed April 17, 2020.

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           Case MDL No. 2942 Document 1-15 Filed 04/20/20 Page 2 of 2



       Oral argument would respectfully assist the Panel in understanding how transferring,

coordinating and consolidating these matters will avoid duplication, avoid inconsistent results, and

serve as a more just and efficient method of litigation.

       For these reasons, Plaintiffs-Movants respectfully request that this Panel grant their request

for oral argument.

Dated: April 20, 2020                         Respectfully submitted,


                                              /s/ Richard M. Golomb
                                              Richard M. Golomb, Esquire
                                              Kenneth J. Grunfeld, Esquire
                                              GOLOMB & HONIK, P.C.
                                              1835 Market Street, Suite 2900
                                              Philadelphia, PA 19103
                                              Telephone: (215) 346-7338
                                              Facsimile: (215) 985-4169
                                              Email: rgolomb@GolombHonik.Com
                                              Email: KGrunfeld@GolombHonik.Com

                                              Arnold Levin, Esquire
                                              Frederick Longer, Esquire
                                              Daniel Levin, Esquire
                                              Keith J. Verrier, Esquire
                                              LEVIN SEDRAN & BERMAN LLP
                                              510 Walnut Street, Suite 500
                                              Philadelphia, PA 19106-3697
                                              Telephone: (215) 592-1500
                                              Facsimile: (215) 592-4663
                                              Email: alevin@lfblaw.com
                                              Email: flonger@lfsblaw.com
                                              Email: dlevin@lfsblaw.com
                                              Email: kverrier@lfsblaw.com

                                              Attorneys for Movants-Plaintiffs LH Dining L.L.C.,
                                              doing business as River Twice Restaurant and
                                              Newchops Restaurant Comcast LLC, doing business
                                              as Chops




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